Case 21-11750-mdc   Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24   Desc
                           Exhibit A Page 1 of 42




                        EXHIBIT A
     Case 21-11750-mdc            Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                            Desc
                                         Exhibit A Page 2 of 42
Case 21-11750-mdc              Doc 110      Filed 08/12/21 Entered 08/12/21 11:33:12                     Desc Main
                                           Document     Page 1 of 41



                            UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:                                               CHAPTER 11

 MIDNIGHT MADNESS DISTILLING                          CASE NO. 21-11750-MDC
 LLC


  ORDER (I) SCHEDULING A HEARING TO CONSIDER APPROVAL OF THE SALE
   OR SALES OF SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS, AND THE
 ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND
    UNEXPIRED LEASES, (II) APPROVING CERTAIN BIDDING PROCEDURES,
 ASSUMPTION AND ASSIGNMENT PROCEDURES, AND THE FORM AND MANNER
 OF NOTICE THEREOF, (III) APPROVING PAYMENT EXPENSE REIMBURSEMENT
                     UNDER CERTAIN CONDITIONS,
                  AND (IV) GRANTING RELATED RELIEF

           Upon consideration of the expedited motion (the “Motion”)1, dated June 21, 2021, of the

 Debtor in the above-captioned chapter 11 case for the entry of an order: (i) scheduling a hearing

 (the “Sale Hearing”) on approval of the sale (the “Sale”) of substantially all of the Debtor’s real and

 personal property and other related interests (the “Assets”), free and clear of all liens, claims,

 encumbrances, and other interests (collectively, the “Encumbrances”), other than those

 Encumbrances permitted by the Asset Purchase Agreement by and between the Debtor and ETOH

 Worldwide, LLC (the “Buyer”) dated as of June 21, 2021 (the “APA”) and authorizing the

 assumption and assignment of certain executory contracts and unexpired leases (each, an “Assumed

 Contract,” and collectively, the “Assumed Contracts”) in connection therewith, (ii) authorizing and

 approving certain proposed bidding procedures for the Sale attached hereto as Exhibit 1

 (collectively, the “Bidding Procedures”), certain proposed assumption and assignment procedures



 1
     Capitalized terms used but not defined herein shall have the meanings given in the Motion or the Bidding
     Procedures (as defined below), as applicable.




                                                           1
 8417033 v1
     Case 21-11750-mdc           Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                            Desc
                                        Exhibit A Page 3 of 42
Case 21-11750-mdc            Doc 110      Filed 08/12/21 Entered 08/12/21 11:33:12                       Desc Main
                                         Document     Page 2 of 41


 (collectively, the “Assumption and Assignment Procedures”), and the form and manner of notice

 thereof; (iii) approving payment of an expense reimbursement under certain conditions; and (iv)

 granting related relief; and due and proper notice of the Motion having been given as provided in

 the Motion; and it appearing that no other or further notice need be provided; and the Bidding

 Procedures Hearing (as defined below) having been held; and all of the proceedings had before

 the Court; and the Court having reviewed the Motion; and the Court having found and

 determined that the relief sought in the Motion and set forth herein is in the best interests of the

 Debtor, its estate and creditors, and all parties in interest and that the legal and factual bases set

 forth in the Motion establish just cause for the relief granted herein; and after due deliberation

 and sufficient cause appearing therefor, it is hereby

          FOUND AND DETERMINED THAT:2

          A.      This Court has jurisdiction to consider the Motion in accordance with 28 U.S.C.

 §§ 157 and 1334.

          B.      Venue of this proceeding and the Motion is proper pursuant to 28 U.S.C. §§ 1408

 and 1409. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

          C.      The statutory and legal predicates for the relief requested in the Motion and

 provided for herein are sections 105(a), 363, 365, 503 and 507 of title 11 of the United States

 Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), Rules 2002, 6004, 6006, 9007, and

 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

          D.      In the Motion and at the hearing on the Motion (the “Bidding Procedures

 Hearing”), the Debtor demonstrated that good and sufficient notice of the relief granted by this


 2
   The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
 pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the
 extent that any of the following findings of fact constitute conclusions of law, they are adopted as such. To the
 extent any of the following conclusions of law constitute findings of fact, they are adopted as such.



                                                          2
 8417033 v1
   Case 21-11750-mdc          Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                    Desc
                                     Exhibit A Page 4 of 42
Case 21-11750-mdc         Doc 110     Filed 08/12/21 Entered 08/12/21 11:33:12                Desc Main
                                     Document     Page 3 of 41



 Order has been given and no further notice is required. A reasonable opportunity to object or be

 heard regarding the relief granted by this Order has been afforded to those parties entitled to

 notice pursuant to Bankruptcy Rule 2002 and all other interested parties.

          E.     The Sale Notice (as defined below) is appropriate and reasonably calculated to

 provide all interested parties with timely and proper notice of this Order, the Bidding Procedures,

 the Auction, the Sale, and the Sale Hearing, and any and all objection deadlines related thereto,

 and no other or further notice is required of the foregoing.

          F.     The Bidding Procedures are fair, reasonable, and appropriate and are designed to

 maximize recovery with respect to the Sale,

          G.     The Assumption and Assignment Procedures provided for herein and in the

 Assumption Notice (as defined below) are reasonable and appropriate and consistent with the

 provisions of section 365 of the Bankruptcy Code and Bankruptcy Rule 6006. The Assumption

 and Assignment Procedures and the Assumption Notice have been tailored to provide an

 adequate opportunity for all Counterparties (as defined below) to assert any Contract Objections

 (as defined in the Assumption and Assignment Procedures).

          H.     Entry of this Order is in the best interests of the Debtor, its estate and creditors

 and all other interested parties.

          NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

          1.     Those portions of the Motion seeking approval of (a) the Assumption and

 Assignment Procedures, (b) the Bidding Procedures, (c) the date, time and place of the Auction

 and Sale Hearing, and (d) the noticing and objection procedures related to each of the foregoing,

 including, without limitation, the Sale Notice, substantially in the form attached hereto as Exhibit




                                                    3
 8417033 v1
     Case 21-11750-mdc       Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                  Desc
                                    Exhibit A Page 5 of 42
Case 21-11750-mdc         Doc 110    Filed 08/12/21 Entered 08/12/21 11:33:12               Desc Main
                                    Document     Page 4 of 41



 2 (the “Sale Notice”), and the Assumption Notice, substantially in the form attached hereto as

 Exhibit 3 (the “Assumption Notice”), are hereby GRANTED as modified and provided herein.

          2.    Any objections to the relief granted by this Order that have not been withdrawn,

 waived or settled, and all reservations of rights included therein, are hereby overruled and denied

 on the merits with prejudice, except for (1) the Limited Objection of PACCAR Financial Corp to

 Debtor’s Motion to Sell Assets (ECF 75), and (2) the Objection of PNC Bank, National

 Association and PNC Equipment Finance, LLC to Debtor’s Motion for Approval of Sale of

 Assets and Related Sale and Bid Procedures (ECF 76) to the extent the issues raised therein are

 not resolved as a result of the entry of this Order,3 which are reserved until consideration of final

 approval of a sale pursuant to the Motion.

 Approval of Bidding Procedures; Auction

          3.    The Bidding Procedures are hereby approved. The failure to specifically include

 or reference any particular provision of the Bidding Procedures in the Motion or this Order shall

 not diminish or otherwise impair the effectiveness of such procedures, it being this Court’s intent

 that the Bidding Procedures are approved in their entirety, as if fully set forth in this Order. The

 Debtor is hereby authorized to conduct the Auction (if any) of the Assets pursuant to the terms of

 the Bidding Procedures and this Order. The Bidding Procedures shall govern the actions of the

 Buyer, the Potential Bidders and the Qualifying Bidders (each as defined in the Bidding

 Procedures), as well as the conduct of any Auction.

          4.    Notwithstanding any limitations provided for in any due diligence information,

 including, without limitation, any non-disclosure, confidentiality or similar provisions, the


 3
  In addition, PNC raised objections regarding proration, the terms of the Master Subcontract as
 well as issues relating to the sale of certain insurance claims. These objections are also reserved
 until the Sale Hearing.


                                                   4
 8417033 v1
   Case 21-11750-mdc         Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                  Desc
                                    Exhibit A Page 6 of 42
Case 21-11750-mdc        Doc 110     Filed 08/12/21 Entered 08/12/21 11:33:12              Desc Main
                                    Document     Page 5 of 41



 Debtor and its estate shall be authorized to provide due diligence information to any Potential

 Bidders or Qualifying Bidders, provided that each Potential Bidder or Qualifying Bidder has

 delivered an executed confidentiality agreement in form and substance acceptable to the Debtor.

 The Debtor and its estate are not responsible for, and shall have no liability with respect to, any

 information obtained by, or provided to, any Potential Bidders or Qualifying Bidders in

 connection with the Bidding Procedures and the Sale, provided that the information was

 provided in accordance with this Order and except as otherwise provided for in the Transaction

 Agreement (including the APA) that is authorized and approved by the Court.

          5.    For the avoidance of doubt, and notwithstanding anything to the contrary in the

 Motion, this Order or the Bidding Procedures, the requirement that a party execute a

 confidentiality agreement to obtain access to due diligence information shall not restrict, prohibit

 or alter the right that any party has under any applicable agreement, including loan agreements,

 to receive, or the Debtor’s obligation to provide, any information, which rights and obligations

 are intended to remain unchanged by this Order and the Bidding Procedures.

          6.    A Qualifying Bidder that desires to make a bid shall deliver a written and

 electronic copy of its bid in both PDF and MS-WORD format to the Debtor, with a copy to the

 Consultation Parties (as defined below) so as to be received on or before August 20, 2021 at

 12:00 p.m. (ET) (the “Bid Deadline”); provided that the Debtor may extend the Bid Deadline

 without further order of the Court, after consulting with the applicable Consultation Parties. Any

 party that does not submit a bid by the Bid Deadline will not be allowed to: (a) submit any offer

 after the Bid Deadline or (b) participate as a bidder in the Auction (if any). The term

 “Consultation Parties” as used in the Bidding Procedures and this Order shall mean the following

 parties (provided that they are not a bidder for the Assets): (i) counsel to the Official Committee



                                                  5
 8417033 v1
   Case 21-11750-mdc         Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                  Desc
                                    Exhibit A Page 7 of 42
Case 21-11750-mdc         Doc 110    Filed 08/12/21 Entered 08/12/21 11:33:12              Desc Main
                                    Document     Page 6 of 41



 of Unsecured Creditors (if any), and (ii) counsel to PNC Bank, N.A. and its affiliates

 (collectively, “PNC”).

          7.    Any Qualifying Bidders (including the Buyer) submitting a Qualifying Bid

 (including the APA) are deemed to have submitted to the exclusive jurisdiction of this Court

 with respect to all matters related to the Auction (if any) and the terms and conditions of the sale

 or transfer of the Assets identified under the Transaction Agreement.

          8.    In the event that the Debtor timely receives two or more Qualifying Bids for the

 same Assets, the Debtor shall include such Assets in the Auction (if any). If no bid other than the

 APA from the Buyer is submitted for the Assets on or before the Bid Deadline, the Debtor

 instead shall cancel the Auction and request that this Court approve the APA from the Buyer and

 the transactions contemplated thereunder at the Sale Hearing.

          9.    The Auction (if any) shall tentatively be held (subject to appropriate COVID

 safety protocols and applicable guidance, including, if necessary or appropriate, by Zoom or

 other teleconference) at the office of counsel to the Debtor, Flaster/Greenberg PC, 1835 Market

 Street, Suite 1050, Philadelphia, PA 19103 beginning at 10:00 a.m. (prevailing Eastern Time) on

 August 23, 2021 at 10:00 am (ET). Any Auction Bidder shall be notified of the exact location

 and manner of conducting the Auction prior to the Auction. Each Auction Bidder and the Buyer

 (as defined in the Bidding Procedures) shall confirm in writing prior to the start of the Auction

 that: (a) it has not engaged in any collusion with respect to the submission of any bid, the

 bidding, or the Auction and (b) its Qualifying Bid is a good faith bona fide offer that it intends to

 consummate if selected as a Successful Bidder. All proceedings at the Auction (if any) shall be

 transcribed.




                                                   6
 8417033 v1
   Case 21-11750-mdc         Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                      Desc
                                    Exhibit A Page 8 of 42
Case 21-11750-mdc         Doc 110    Filed 08/12/21 Entered 08/12/21 11:33:12                Desc Main
                                    Document     Page 7 of 41



          10.   The Assets shall be offered only as a group in one lot as provided in the APA at

 the Auction (if any). The Debtor, in consultation with the Consultation Parties, shall assess each

 bid to determine whether it is the highest and best bid for the Assets, considering, among other

 things: (a) the transaction structure and execution risk, including conditions as to timing and

 certainty of closing, termination provisions, availability of financing and financial wherewithal

 to meet all commitments, and required governmental or other approval; (b) variations between

 competing bids and any incremental execution risk that the Debtor reasonably determines, in

 consultation with the Consultation Parties, exists as a result of those variations; (c) the time

 needed to close a Sale or other transaction compared with other Qualifying Bids and the cost to

 the Debtor and its estate of any incremental delay; (d) the total consideration, including non-cash

 consideration, to be received by the Debtor and its estate; (e) the ability to obtain a higher or

 better offer for the Assets when sold; (f) existing funding available or proposed to be provided by

 the Qualifying Bidder during the period necessary to close the Sale or other transaction; (g) the

 net benefit to the Debtor’s estate, taking into account the Buyer’s rights to any expense

 reimbursement, and similar bid protections; (h) the proposed treatment of existing secured

 interests in the Assets, including any senior indebtedness in the case of a credit bid; (i) the impact

 on employees, Counterparties (including claims that may be asserted related to rejection and

 objections to adequate assurance), and other creditors; and (j) any other factors the Debtor may

 reasonably deem relevant, all in consultation with the Consultation Parties.

          11.   The Debtor shall have the right as it may reasonably determine to be in the best

 interests of its estate to carry out the Bidding Procedures, including, without limitation, to, in

 consultation with the Consultation Parties: (a) determine which bidders are Qualifying Bidders;

 (b) determine which bids are Qualifying Bids; (c) deny Qualifying Bidders the opportunity to bid



                                                   7
 8417033 v1
   Case 21-11750-mdc           Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                      Desc
                                      Exhibit A Page 9 of 42
Case 21-11750-mdc          Doc 110     Filed 08/12/21 Entered 08/12/21 11:33:12                  Desc Main
                                      Document     Page 8 of 41



 on less than all of the Assets that were included in the APA, if applicable; (d) subject to the terms

 of the Bidding Procedures, determine which bid is the Successful Bid and Back-Up Bid, each as

 it relates to the Auction (if any); (f) reject any bid that is (i) inadequate or insufficient, (ii) not in

 conformity with the requirements of the Bidding Procedures or the Bankruptcy Code, or (iii)

 contrary to the best interests of the Debtor and its estate; (g) adjourn or cancel the Auction and/or

 the Sale Hearing in open court without further notice or as provided in this Order and in the

 Bidding Procedures; (h) modify the Bidding Procedures consistent with their fiduciary duties and

 the Bankruptcy Code; and (i) withdraw the Motion with respect to entry of the Sale Order for the

 Assets at any time with or without prejudice.

 Assumption and Assignment Procedures; Contract Objections

          12.    The following “Assumption and Assignment Procedures” are hereby approved:

                 (a)     On or before one business day after this Order is entered (the
                 “Assumption Notice Deadline”), the Debtor shall file with the Court and serve on
                 each counterparty (each, a “Counterparty,” and collectively, the “Counterparties”)
                 to an Assumed Contract an assumption notice (an “Assumption Notice”). In the
                 event that the Debtor identifies any Assumed Contract that a potential purchaser
                 may potentially seek to acquire by assumption or assumption and assignment or
                 modify the Cure Amount (as defined herein) after the Assumption Notice
                 Deadline, the Debtor shall promptly file and serve a supplemental Assumption
                 Notice (a “Supplemental Assumption Notice”).

                 (b)     The Assumption Notice (or Supplemental Assumption Notice, if
                 applicable) shall include, without limitation, the cure amount (each, a “Cure
                 Amount”), if any, that the Debtor believes is required to be paid to the applicable
                 Counterparty under section 365(b)(1)(A) and (B) of the Bankruptcy Code for each
                 of the Assumed Contracts.

                 (c)     If a Counterparty objects to the Debtor’s ability to assume and/or assign
                 the Assumed Contract, the Counterparty must file with the Court and serve on the
                 counsel to the Debtor and the Consultation Parties a written objection (a “Contract
                 Objection”). Any Contract Objection shall: (i) be in writing; (ii) comply with the
                 Bankruptcy Rules and the Local Bankruptcy Rules; (iii) be filed with the Clerk of
                 this Court, together with proof of service, on or before 4:00 p.m. (ET) on August
                 25, 2021 (ET) (the “Contract Objection Deadline”), provided that if the Debtor
                 files any Supplemental Assumption Notice, such notice shall provide that the


                                                      8
 8417033 v1
   Case 21-11750-mdc      Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                 Desc
                                 Exhibit A Page 10 of 42
Case 21-11750-mdc      Doc 110    Filed 08/12/21 Entered 08/12/21 11:33:12             Desc Main
                                 Document     Page 9 of 41



              Contract Objection Deadline shall be at least 10 days after service of such notice;
              and (iv) be served, so as to be actually received on or before the Contract
              Objection Deadline, upon the counsel to the Debtor and the Consultation Parties.
              Any objections to adequate assurance of future performance by a Successful
              Bidder or cure amounts shall be filed in accordance with this Order.

              (d)     If the Successful Bidder is any party other than the Buyer, within 24 hours
              after the conclusion of the Auction, the Debtor shall file with the Court a notice
              identifying the Successful Bidder for the Assets (a “Notice of Successful
              Bidder”), which shall set forth, among other things, (i) the Successful Bidder and
              Back-Up Bidder (as defined in the Bidding Procedures), if any, (ii) the Assumed
              Contracts included in the Successful Bid or Back-Up Bid (as defined in the
              Bidding Procedures); (iii) the proposed assignee(s) of such Assumed Contracts;
              and (iv) the cure amount, if any, that the Debtor believes is required to be paid to
              the applicable Counterparty under section 365(b)(1)(A) of the Bankruptcy Code
              for each of the Assumed Contracts (the “Cure Amount”). The Debtor shall
              provide on a confidential basis no later than 24 hours after the Bid Deadline
              instructions for contacting such other Successful Bidder regarding the Adequate
              Assurance Information provided with such other Successful Bid to each affected
              Counterparty.

              (e)     If the Successful Bidder is any party other than the Buyer, service of the
              Notice of Successful Bidder shall be made by overnight mail and/or email upon
              each affected Counterparty and Consultation Party and their counsel. In such an
              event, Counterparties may submit objections solely on the basis of adequate
              assurance of future performance by a Successful Bidder, an objection pursuant to
              11 U.S.C. § 365(b)(3), or an objection to the Cure Amount, if applicable to that
              Counterparty, prior to the commencement of the Sale Hearing.

              (f)     If no Contract Objection is timely received with respect to an Assumed
              Contract: (i) the Counterparty to such Assumed Contract shall be deemed to have
              consented to the assumption by the Debtor and (if applicable) assignment of such
              Assumed Contract, and will be forever barred from asserting any objection with
              regard to such assumption and assignment (including, without limitation, with
              respect to adequate assurance of future performance); (ii) upon receipt by the
              Counterparty of any Cure Amount, any and all defaults under such Assumed
              Contract and any and all pecuniary losses related thereto shall be deemed cured
              and compensated pursuant to section 365(b)(1)(A) and (B) of the Bankruptcy
              Code; and (iii) the Cure Amount included in the Assumption Notice or
              Supplemental Assumption Notice, if applicable, for such Assumed Contract shall
              be controlling, notwithstanding anything to the contrary in such Assumed
              Contract, or any other related document, and the Counterparty shall be deemed to
              have consented to the Cure Amount and shall be forever barred from asserting
              any other claims related to such Assumed Contract against the Debtor and (if
              applicable) the Debtor’s assignee, or the property of any of them, that existed
              prior to the entry of the Sale Order.


                                               9
 8417033 v1
   Case 21-11750-mdc          Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24              Desc
                                     Exhibit A Page 11 of 42
Case 21-11750-mdc           Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12            Desc Main
                                   Document    Page 10 of 41




                 (g)     To the extent that the parties are unable to consensually resolve any
                 Contract Objection prior to the commencement of the Sale Hearing, including,
                 without limitation, any dispute with respect to the Cure Amount required to be
                 paid to the applicable Counterparty under section 365(b)(1)(A) and (B) of the
                 Bankruptcy Code (any such dispute, a “Cure Dispute”), such Cure Dispute will be
                 adjudicated at a hearing approximately 14 days following the Sale Hearing or at
                 such other date and time as may be mutually agreed to by the Debtor and the
                 objecting Counterparty or scheduled by the Court. All portions of any Contract
                 Objections that are not Cure Disputes will be adjudicated at the Sale Hearing. If
                 the Contract Objection relates solely to a Cure Dispute, such Assumed Contract
                 may be assumed by the Debtor and assigned, provided that the cure amount that
                 the Counterparty asserts is required to be paid under section 365(b)(1)(A) and (B)
                 of the Bankruptcy Code (or such lower amount as agreed to by the Counterparty)
                 is paid to the Counterparty and the remaining disputed portions of the cure
                 amount shall be held in escrow pending the adjudication or resolution of the Cure
                 Dispute.

          13.    As part of its bid, any Qualifying Bidder must submit, for review by the

 Consultation Parties and Counterparties to Assumed Contracts of which such Qualified Bidder

 may seek to take assignment, information demonstrating the Qualifying Bidder’s ability to

 provide adequate assurance of future performance under section 365(f)(2)(B) of the Bankruptcy

 Code (the “Adequate Assurance Information”). Adequate Assurance Information shall be

 provided on a confidential basis and must be kept confidential and shall only be used and

 disclosed as agreed to by the Qualifying Bidder that provided such Adequate Assurance

 Information or as ordered by the Court. This Order authorizes the filing of any Adequate

 Assurance Information under seal, and on the docket with such non-public information redacted,

 without further order of the Court; provided that unredacted versions of such pleadings shall be

 served upon the Debtor, with a copy to the Court’s chambers. Any Representative receiving

 Adequate Assurance Information shall be notified and shall agree to be bound by the restrictions

 set forth in this Order.




                                                 10
 8417033 v1
   Case 21-11750-mdc         Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                   Desc
                                    Exhibit A Page 12 of 42
Case 21-11750-mdc         Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12                  Desc Main
                                 Document    Page 11 of 41



          14.   As part of its bid, each Qualifying Bidder (including the Buyer) must agree to pay

 any Cure Amounts associated with any Assumed Contracts and assume any obligations that

 accrued or are accruing under an Assumed Contract but which are not yet due for any Assumed

 Contract to be acquired in a Sale.

          15.   Within 24 hours after the Bid Deadline, the Debtor, or its agents, shall send via

 overnight mail or email to each Counterparty and its counsel, if such Counterparty’s counsel has

 filed an entry of appearance in the above-captioned case, any bids (other than the bid from the

 Buyer in the APA) that identify such Counterparty’s Assumed Contract as a contract to be

 acquired in a Sale, including such Qualified Bidder’s Adequate Assurance Information.

          16.   The Assumption and Assignment Procedures are appropriate and fair to all

 Counterparties and comply in all respects with the Bankruptcy Code, the Bankruptcy Rules and

 the Local Rules.

          17.   The inclusion of a contract, lease or other agreement on an Assumption Notice

 shall not constitute or be deemed a determination or admission by the Debtor, its estate, or any

 other party in interest that such contract, lease or other agreement is, in fact, an executory

 contract or unexpired lease within the meaning of the Bankruptcy Code, and any and all rights

 with respect thereto shall be reserved.

 Sale Hearing and Objections to the Sale

          18.   The Sale Hearing shall be held in this Court on August27, 2021 at 10:30 a.m (via

 zoom). In consultation with the Consultation Parties, the Debtor may adjourn or reschedule the

 Sale Hearing without notice or with limited and shortened notice to parties, including by: (a) an

 announcement of such adjournment at the Sale Hearing or (b) the filing of a notice of

 adjournment with the Court prior to the commencement of the Sale Hearing.



                                                  11
 8417033 v1
   Case 21-11750-mdc         Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                     Desc
                                    Exhibit A Page 13 of 42
Case 21-11750-mdc         Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12                  Desc Main
                                 Document    Page 12 of 41



          19.   Any objections to the Sale or the relief requested in connection with the Sale (a

 “Sale Objection”), other than a Contract Objection, which shall be governed by the Assumption

 and Assignment Procedures, must: (a) be in writing; (b) comply with the Bankruptcy Rules and

 the Local Bankruptcy Rules; (c) set forth the specific basis for the Sale Objection; (d) be filed

 with the Clerk of this Court, together with proof of service, on or before 4:00 p.m. (ET) on

 August 25, 2021 (the “Sale Objection Deadline”); and (e) be served, so as to be actually received

 on or before the Sale Objection Deadline, upon the counsel to the Debtor and the Consultation

 Parties; provided that solely with respect to an objection to the conduct of the Auction (if any),

 the designation of any Successful Bidder or Bid or Back-Up Bidder or Bid, the terms (including

 price) of such bids, and the Debtor’s ability to satisfy the conditions of section 363(f) of the

 Bankruptcy Code with respect to a Successful Bid or Back-Up Bid (an “Auction Objection”), the

 deadline to file an Auction Objection shall be prior to the commencement of the Sale Hearing

 (the “Auction Objection Deadline”). If a Sale Objection or Auction Objection is not filed and

 served on or before the Sale Objection Deadline or Auction Objection Deadline, as applicable, in

 accordance with the foregoing requirements, an objecting party shall be barred from objecting to

 the Sale and shall not be heard at the Sale Hearing, and this Court may enter the Sale Order

 without further notice to such party.

          20.   Failure to file a Sale Objection on or before the Sale Objection Deadline and

 failure to file an Auction Objection on or before the Auction Objection Deadline (a) shall forever

 bar the assertion, whether at any Sale Hearing or thereafter, of any objection to the Motion, to

 entry of the Sale Order, and/or to the consummation and performance of the Sale contemplated

 by any Transaction Agreement with a Successful Bidder or Back-Up Bidder (including the APA

 with the Buyer), and (b) for purposes of section 363(f) of the Bankruptcy Code, shall constitute



                                                  12
 8417033 v1
   Case 21-11750-mdc            Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                Desc
                                       Exhibit A Page 14 of 42
Case 21-11750-mdc           Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12               Desc Main
                                   Document    Page 13 of 41



 “consent” to the entry of the Sale Order and consummation of the Sale and all transactions

 related thereto.

          21.       The Debtor and the Consultation Parties shall have until commencement of the

 Sale Hearing to file and serve a reply to any objection filed in connection with the Sale,

 including any Sale Objection, Auction Objection, or Contract Objection.

 Form and Manner of Notice of Sale Hearing

          22.       The Sale Notice, the Assumption Notice, the Notice of Successful Bidder, the

 Bidding Procedures, and the Assumption and Assignment Procedures and the objection periods

 associated with each of the foregoing are reasonably calculated to provide sufficient and

 effective notice to any affected party and to afford each affected party the opportunity to exercise

 any rights affected by the Motion as it relates to the Bidding Procedures, Auction, Sale, Sale

 Hearing, and the assumption and assignment of the Assumed Contracts pursuant to Bankruptcy

 Rules 2002(a)(2), 6004 and 6006, and such notices and objection periods are hereby approved.

          23.       Within two (2) business days after the entry of the Bidding Procedures Order, the

 Debtor will serve the Sale Notice by first class mail on: (1) the Office of the United States

 Trustee; (2) counsel to the Official Committee of Unsecured Creditors, if any; (3) counsel to

 PNC, Debtor’s prepetition secured lender; (4) all parties known by the Debtor to assert a lien on

 any of the Assets; (5) all persons known to have asserted an interest in any of the Assets; (6) all

 non-Debtor parties to any of the Assumed Contracts; (7) the Office of the United States Attorney

 for the Eastern District of Pennsylvania; (8) the Office of the Attorney General of Pennsylvania;

 (9) the Office of the Secretary of State of Pennsylvania; (10) the Internal Revenue Service; (11)

 the Pennsylvania Department of Revenue; (12) the Pennsylvania Liquor Control Board; (13) the

 United States Environmental Protection Agency and similar state agency in Pennsylvania; and



                                                    13
 8417033 v1
   Case 21-11750-mdc          Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                Desc
                                     Exhibit A Page 15 of 42
Case 21-11750-mdc           Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12               Desc Main
                                   Document    Page 14 of 41



 (14) any other parties that have filed a notice of appearance and demand for service of papers in

 this chapter 11 case as of the date of service. In addition, the Debtor will serve the Sale Notice on

 all of the Debtor’s known creditors, investors, and equity holders (for whom identifying

 information and addresses are available to the Debtor).

 Miscellaneous

          24.   If the Sale of the Assets to the Buyer is not consummated under circumstances

 that render the Expense Reimbursement payable as provided in the APA, then within five (5)

 business days of the Closing Date, the Buyer shall move this Court for payment of the Expense

 Reimbursement in an amount not to exceed $100,000. The foregoing shall not limit the right of

 the Buyer to seek specific performance of the APA at any time after the entry of an order of this

 Court approving the APA.

          25.   . Upon approval by the Court, the Buyer shall be paid the Expense

 Reimbursement from the cash proceeds of the Successful Bid at closing, or other sources if

 necessary, prior to payment from such proceeds (or other sources) of any claims against the

 Debtor, including claims secured by the proceeds of such Successful Bid (or other sources), and

 any holders of claims secured by such proceeds (or other sources) shall be deemed to have

 released their security interests in such proceeds (or other sources) to the extent of the approved

 Expense Reimbursement. The Buyer reserves the right to seek to have the Expense

 Reimbursement, to the extent due and owing, to be deemed an expense of administration of the

 Debtor’s estate pursuant to 11 U.S.C. § 503 senior in priority to any other expenses of

 administration to the extent of the proceeds of the Sale, and PNC reserves the right to object to

 such priority treatment.




                                                  14
 8417033 v1
   Case 21-11750-mdc         Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                     Desc
                                    Exhibit A Page 16 of 42
Case 21-11750-mdc        Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12                  Desc Main
                                Document    Page 15 of 41



          26.   If the Expense Reimbursement has not been approved by the Bankruptcy Court as

 of the closing date, then the Debtor shall establish an appropriate reserve for payment of the

 Expense Reimbursement (upon approval), with the balance of the sale proceeds to be distributed

 to the holders of claims secured by such proceeds at closing or as soon as practicable thereafter.

 Any excess funds held in reserve shall promptly be distributed to the holders of claims secured

 by proceeds promptly after payment of the approved Expense Reimbursement.

          27.   PNC reserves the right to credit bid the full amount of its obligations, and PNC

 (or any successor-in-interest to PNC) will be deemed a Qualified Bidder for such credit bid.

          28.   The Debtor is authorized to conduct the Sale without the necessity of complying

 with any state or local bulk transfer laws or requirements.

          29.   In the event that there is a conflict between this Order or the Bidding Procedures,

 on the one hand, and the Motion, the APA or a Transaction Agreement, on the other hand, this

 Order and the Bidding Procedures shall control and govern, and this Order shall control in the

 event of any conflict with the Bidding Procedures.

          30.   Prior to mailing the Sale Notice and the Assumption Notice, as applicable, the

 Debtor may fill in, or cause to be filled in, any missing dates and other information, correct any

 typographical errors, conform the provisions thereof to the provisions of this Order, and make

 such other, non-material changes as the Debtor deems necessary or appropriate.

          31.   All persons or entities that participate in the bidding process (including the Buyer)

 shall be deemed to have knowingly and voluntarily: (a) consented to the entry of a final order by

 this Court in connection with the Motion or this Order (including any disputes relating to the

 bidding process, the Auction and/or any Sale) to the extent that it is later determined that the

 Court, absent consent of the parties, cannot enter final orders or judgments in connection



                                                  15
 8417033 v1
    Case 21-11750-mdc        Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                    Desc
                                    Exhibit A Page 17 of 42
  Case 21-11750-mdc        Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12                     Desc Main
                                  Document    Page 16 of 41



   herewith consistent with Article III of the United States Constitution and (b) waived any right to

   a jury trial in connection with any disputes relating to the any of the foregoing matters.

            32.   This Order shall be effective immediately upon entry, and any stay of orders

   provided for in Bankruptcy Rules 6004(h) or 6006(d) or any other provision of the Bankruptcy

   Code, the Bankruptcy Rules or the Local Bankruptcy Rules is expressly waived. The Debtor is

   not subject to any stay in the implementation, enforcement or realization of the relief granted in

   this Order, and may, in its sole discretion and without further delay, take any action and perform

   any act authorized or approved under this Order.

            33.   The requirements set forth in Local Rules 6004-1, 9006-1 and 9013-1 are hereby

   satisfied or waived.

            34.   This Court shall retain exclusive jurisdiction with respect to all matters arising

   from or related to the implementation or interpretation of the Order.




                                                 BY THE COURT:



August 12, 2021                                  __________________________________
                                                 MAGDELINE D. COLEMAN
                                                 CHIEF U.S. BANKRUPTCY JUDGE




                                                    16
   8417033 v1
  Case 21-11750-mdc    Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24   Desc
                              Exhibit A Page 18 of 42
Case 21-11750-mdc     Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12   Desc Main
                             Document    Page 17 of 41




                                     Exhibit 1

                                 Bidding Procedures




                                        17
 8417033 v1
   Case 21-11750-mdc           Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24             Desc
                                      Exhibit A Page 19 of 42
Case 21-11750-mdc            Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12           Desc Main
                                    Document    Page 18 of 41




                                      BIDDING PROCEDURES

         On June 21 2021, Midnight Madness Distillery, LLC, as Debtor and Debtor in possession
 (the “Debtor”), filed a voluntary petition for relief under chapter 11 of title 11 of the United
 States Code (the “Bankruptcy Code”). The Debtor is operating its business and managing its
 properties as a Debtor in possession pursuant to section 1107(a) and 1108 of the Bankruptcy
 Code.
         The Debtor has entered into that certain Asset Purchase Agreement by and between the
 Debtor and ETOH Worldwide, LLC (the “Buyer”) dated as of June 21, 2021 (the “APA”) for the
 purchase of the Assets.

          On [ ], 2021, the United States Bankruptcy Court for the Eastern District of
 Pennsylvania (the “Court”) entered an order [Docket No. ] (the “Bidding Procedures Order”),
 which, among other things, authorized the Debtor to solicit bids and approved these procedures
 (collectively, the “Bidding Procedures”), which are to be employed by the Debtor in connection
 with the proposed sale of the Assets (including the APA to the Buyer) (the “Sale”), free and clear
 of all liens, claims, encumbrances, and other interests (collectively, the “Encumbrances”), other
 than those Encumbrances permitted by the APA or a Transaction Agreement (as defined below),
 on an AS-IS, WHERE-IS with ALL FAULTS basis.


 ANY PARTY INTERESTED IN BIDDING ON THE ASSETS SHOULD CONTACT:
 Wm. F. Comly & Son, Inc. 1825 E. Boston Street Philadelphia, PA 19125-1296; 215-634-2500;
 auctions@comly.com; ATTN: Jim Comly jcomly@comly.com; (610)656-2190 (the “Investment
 Banker”)


                             Event                          Proposed Dates

              Deadline to serve Sale Notice,         One business day after Bidding
              including to potential purchasers by    Procedures Order is entered
              first class mail

              Deadline to serve Assumption           One business day after Bidding
              Notice                                  Procedures Order is entered

              Deadline to object to Assumption        August 25, 2021 at 4:00 p.m.
              Notice (other than adequate
              assurance)

              Deadline to object to Sale (other       August 25, 2021 at 4:00 p.m.
              than with respect to assumption and
              assignment)

              Bid Deadline                           August 20, 2021 at 12:00 p.m.


 8417033 v1
   Case 21-11750-mdc            Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24             Desc
                                       Exhibit A Page 20 of 42
Case 21-11750-mdc             Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12            Desc Main
                                     Document    Page 19 of 41




               Auction, if any, commence              August 23, 2021 at 10:00 a.m.

               Deadline to object to adequate         August 25, 2021 at 4:00 p.m.
               assurance

               Deadline to Object to Conduct of             At Sale Hearing
               Auction

               Sale Hearing                           August 27 2021 at 10:30 a.m.
                                                              (via Zoom)

               Projected Outside Closing Date              September 3, 2021



          1.        Assets to be Sold

        The Debtor shall offer for sale all of the Assets. Potential Bidders may only bid on all the
 Assets in one lot.

          2.        Participation Requirements

        The Buyer is deemed to be a Qualified Bidder and have satisfied these Participation
 Requirements.

         If PNC Bank, N.A. (including any affiliates who are secured creditors of the Debtor,
 collectively “PNC”) or any successor-in-interest to PNC elects to submit a credit bid, PNC (or
 such successor-in-interest) shall be deemed to be a Qualified Bidder and have satisfied these
 Participation Requirements

         Any person or entity that wishes to conduct due diligence and gain access to the Debtor’s
 confidential data concerning the Assets (the “Data” and such person or entity, a “Potential
 Bidder”) must submit to the Debtor and their advisors an executed confidentiality agreement in
 form and substance reasonably satisfactory to the Debtor, which by its terms will inure to the
 benefit of the Successful Bidders, to the extent of confidential information relating to the Assets
 acquired by such party.

         Any Potential Bidder that wishes to participate in the bidding process for the Assets must
 first become a “Qualifying Bidder.” A party may be qualified as a Qualifying Bidder up to the
 Bid Deadline (i.e., August 20, 2021) but is encouraged to qualify as soon as possible because
 the Bidding Procedures do not permit any due diligence or financing conditions in
 Qualifying Bids. To become a Qualifying Bidder, a Potential Bidder must submit as part of its
 Bid sufficient information, as determined by the Debtor, to allow the Debtor, after consultation
 with the Consultation Parties, to determine that the interested party (i) has, or can obtain, the
 financial wherewithal and any required internal corporate, legal or other authorizations to close a


                                                  2
 8417033 v1
   Case 21-11750-mdc        Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                 Desc
                                   Exhibit A Page 21 of 42
Case 21-11750-mdc        Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12                 Desc Main
                                Document    Page 20 of 41



 sale transaction, including, but not limited to, current audited financial statements of the
 interested party (or such other form of financial disclosure acceptable to the Debtor in their
 discretion) and (ii) can provide adequate assurance of future performance under any executory
 contracts and unexpired leases to be assumed by the Debtor and assigned to such bidder pursuant
 to section 365 of the Bankruptcy Code in connection with the Sale.

         Each Potential Bidder shall comply with all reasonable requests for information and due
 diligence access by the Debtor or their advisors regarding the ability of such Potential Bidder to
 consummate its proposed transaction.

        To the extent that a bid is proposed by a group or committee to which Bankruptcy Rule
 2019 applies, such parties must promptly file the statement required by such rule as a condition
 to becoming a Qualifying Bidder.

          3.    Bankruptcy Court Jurisdiction

         In conjunction with any actions or proceedings arising from or relating to the Bidding
 Procedures, the Sale, the Auction (as defined below), the acts or omissions of the Debtor, the
 Investment Banker, and their respective representatives and/or the construction and enforcement
 of the contemplated transaction documents of such parties, the Buyer, any Potential Bidders and
 Qualifying Bidders shall: (a) be deemed to have waived any right to a jury trial and consented
 and submitted to the exclusive jurisdiction of the Court, (b) bring any such action or proceeding
 in the Court, and (c) be deemed to have consented to the Court entering a final judgment
 determining any such action or proceeding and that such final judgment in any such action or
 proceeding, including all appeals, shall be conclusive and may be enforced in other jurisdictions
 (including any foreign jurisdictions) by suit on the judgment or in any other manner provided by
 applicable law.

          4.    Form of Agreement

         Each Qualifying Bidder (other than the Buyer), must include with its bid an executed
 asset purchase agreement or other agreement for the applicable Sale (each a “Transaction
 Agreement”), clean and marked against the APA from the Buyer, which must include the
 following:

                      i.      identification of the Assets to be acquired either in the Transaction
                Agreement itself or as a schedule to the Transaction Agreement;

                        ii.     full disclosure of the identity of the bidder and whether such party
                is an insider (as defined in section 101 of the Bankruptcy Code) of the Debtor,
                along with the contact information of the specific person(s) whom the Debtor or
                their advisors should contact in the event that the Debtor wishes to discuss the bid
                submitted by the Qualifying Bidder;




                                                  3
 8417033 v1
  Case 21-11750-mdc          Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                  Desc
                                    Exhibit A Page 22 of 42
Case 21-11750-mdc         Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12                  Desc Main
                                 Document    Page 21 of 41



                         iii.    the purchase price to be paid by such Qualifying Bidder, including
                 what amount is being paid as cash and what amount constitutes a credit bid, as
                 well as any liabilities proposed to be paid or assumed by such Qualifying Bidder;

                        iv.     identify whether the Qualifying Bidder or the Debtor shall be
                 responsible for any transfer or similar taxes that arise from the Sale;

                         v.      the Qualifying Bidder’s agreement to pay any cure costs required
                 to be paid to assume and assign executory contracts and unexpired leases that are
                 included in the bid;

                        vi.    a commitment to close the transactions contemplated by the
                 Transaction Agreement promptly upon entry of the order approving the Sale;

                         vii.     contain a written acknowledgement and representation that the
                 bidder (i) has had an opportunity to conduct any and all due diligence regarding
                 the Assets, (ii) has relied solely upon its own independent review, investigation
                 and/or inspection of any documents and other information in making its bid, (iii)
                 did not rely upon any written or oral statements, representations, promises,
                 warranties or guaranties whatsoever, whether express, implied, by operation of
                 law or otherwise, regarding the Assets, or the completeness of any documents or
                 other information provided in connection with the Bidding Procedures and the
                 Sale, and (iv) has not entered into any agreement with any other potential bidder
                 concerning the Auction or the Sale or disclosed any agreement with any other
                 potential bidder concerning the Auction or Sale;

                        viii. a statement that the Transaction Agreement is not subject to
                 contingencies of any kind, including, without limitation, contingencies related to
                 financing, due diligence or third party, regulatory or internal approval; and

                         ix.    a statement that the Qualifying Bidder has obtained any required
                 internal corporate, legal or other authorizations to close a sale transaction and to
                 provide adequate assurance of future performance as required under section 365
                 of the Bankruptcy Code.

          The APA from the Buyer is deemed to have satisfied each of these requirements.

          5.     Due Diligence

         Subject to the execution of a confidentiality agreement by a Potential Bidder or
 Qualifying Bidder, the Debtor will provide any Potential Bidder or Qualifying Bidder with
 reasonable access to the Data and any other additional information that the Debtor believes to be
 reasonable and appropriate under the circumstances. All additional due diligence requests shall
 be directed to the Investment Banker at the contact information provided above.




                                                   4
 8417033 v1
   Case 21-11750-mdc         Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                 Desc
                                    Exhibit A Page 23 of 42
Case 21-11750-mdc         Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12                Desc Main
                                 Document    Page 22 of 41



         All due diligence materials provided to Potential Bidders and Qualifying Bidders shall be
 subject to the limitations on use and disclosure included in any confidentiality agreement entered
 into pursuant to the Bidding Procedures.

        Notwithstanding any limitations provided for in any due diligence materials in the
 Debtor’s possession, including, without limitation, any non-disclosure, confidentiality or similar
 provisions, the Debtor and its estate shall be authorized to provide due diligence information to
 Potential Bidders that have executed a confidentiality agreement.

          6.     Bid Requirements

         To be deemed a “Qualifying Bid,” a bid must be received from a Qualifying Bidder on or
 before the Bid Deadline and must satisfy each of the following requirements (each, a “Bid
 Requirement”):

                 (a)     be in writing;

                  (b)     fully disclose the identity of the Qualifying Bidder and whether such party
          is an insider (as defined in section 101 of the Bankruptcy Code) of any Debtor, and
          provide the contact information of the specific person(s) whom the Debtor or their
          advisors should contact in the event that the Debtor have any questions or wish to discuss
          the bid submitted by the Qualifying Bidder;

                   (c)     be accompanied by a clean, executed copy of a Transaction Agreement
          that satisfies the requirements of Section 4 of these Bidding Procedures, along with a
          marked copy of the Transaction Agreement that reflects any variations from the Debtor’s
          form of Transaction Agreement, if any;

                 (d)     set forth the purchase price to be paid by such Qualifying Bidder,
          including what amount is being paid as cash and what amount constitutes a credit bid,
          and identify the liabilities proposed to be paid or assumed by such Qualifying Bidder;

                 (e)     state that such Qualifying Bidder offers to purchase all of the Assets
          included in the APA upon substantially the same terms as, or terms more favorable to the
          Debtor and its estate than, the terms set forth in the APA;

                  (f)     state that such Qualifying Bidder’s offer is formal, binding and
          unconditional and is irrevocable until the conclusion of the Sale Hearing unless such
          party is the Successful Bidder or Back-Up Bidder (both as defined below) in which case
          such offer is formal, binding and unconditional and is irrevocable until two (2) business
          days after the closing of the Sale of the Assets;

                  (g)    state that such Qualifying Bidder is financially capable of consummating
          the transactions contemplated by the Transaction Agreement and contain such financial
          and other information to allow the Debtor to make a reasonable determination as to the
          Qualifying Bidder’s financial and other capabilities to close the transactions


                                                   5
 8417033 v1
   Case 21-11750-mdc          Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                  Desc
                                     Exhibit A Page 24 of 42
Case 21-11750-mdc          Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12                 Desc Main
                                  Document    Page 23 of 41



          contemplated by its proposed Transaction Agreement, including, without limitation, (i)
          written evidence satisfactory to the Debtor, in consultation with the Consultation Parties,
          that the Qualifying Bidder has a commitment for financing or other evidence of the
          ability to close the transactions contemplated by the Transaction Agreement, and (ii) such
          financial and other information demonstrating the Qualifying Bidder’s ability to show
          adequate assurance of future performance under section 365(f)(2)(B) of the Bankruptcy
          Code, in a form that allows the Debtor to make available, within 24 hours after such
          receipt, such information to any counterparties to any contracts or leases proposed to be
          assumed and assigned in connection with the Sale;

                  (h)     identify with particularity each and every executory contract, unexpired
          lease and unexpired sublease the assumption and assignment of which is a condition to
          close the transactions contemplated by the proposed Transaction Agreement, and provide
          that such Qualifying Bidder will pay all Cure Amounts associated with any such assumed
          executory contracts;

                (i)    a commitment to close the transactions contemplated by the Transaction
          Agreement promptly upon of entry of the order approving the Sale;

                 (j)     not request or entitle such Qualifying Bidder (other than the Buyer) to any
          break-up fee, termination fee, expense reimbursement or similar type of fee or payment;

                 (k)    the aggregate consideration proposed by the Qualifying Bidder (other than
          the Buyer) must equal or exceed the sum of the amount of (A) the cash purchase price
          under the APA ($1,025,000), plus (B) the amount of secured debts (other than those
          owed to PNC Bank, N.A. and its affiliates) to be assumed under the APA, totaling
          $447,824.49), plus (C) the maximum amount of the expense reimbursement ($100,000),
          plus (D) $50,000;

                  (l)     not contain any contingencies of any kind, including, including without
          limitation, contingencies related to financing, due diligence or third party, regulatory or
          internal approval;

                 (m)      provide for the Qualifying Bidder to serve as a backup bidder (the “Back-
          Up Bidder”) if the Qualifying Bidder’s bid is the next highest and best bid (the “Back-Up
          Bid”) after the Successful Bid (as defined below), in accordance with the terms of the
          Transaction Agreement and these Bidding Procedures;

                 (n)    include written evidence of authorization and approval from the
          Qualifying Bidder’s board of directors (or comparable governing body) with respect to
          the submission, execution, and delivery of the Transaction Agreement;

                 (o)     subject to Section 7 of the Bidding Procedures, provide a good faith cash
          deposit (the “Deposit”) in an amount equal to five percent (5%) of the total consideration
          provided under the proposed Transaction Agreement; and



                                                    6
 8417033 v1
   Case 21-11750-mdc         Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                 Desc
                                    Exhibit A Page 25 of 42
Case 21-11750-mdc         Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12                 Desc Main
                                 Document    Page 24 of 41



                 (p)      provide for liquidated damages in the event of the Qualifying Bidder’s
          breach of, or failure to perform under, the Transaction Agreement equal to the amount of
          the Deposit.

          Subject to the next sentence, a bid from a Qualifying Bidder satisfying all of the above
 requirements, as determined by the Debtor, in consultation with the Consultation Parties, shall
 constitute a Qualifying Bid. The Debtor both reserves the right and is authorized to work with
 any Qualifying Bidder in advance of the Auction to cure any deficiencies in a bid that is not
 initially deemed a Qualifying Bid.

        Each Qualifying Bidder submitting a bid shall be deemed to: (a) acknowledge and
 represent that it is bound by all of the terms and conditions of the Bidding Procedures; and (b)
 have waived the right to pursue a substantial contribution claim under section 503 of the
 Bankruptcy Code related in any way to the submission of its bid, the Bidding Procedures, and the
 Sale.
        The Buyer is deemed to be a Qualifying Bidder as a result of the APA.

          7.     Credit Bidding

          Any party that wishes to submit a credit bid either as a component or as the entirety of the
 consideration for its bid shall identify the amount of the claim and the nature, extent, and priority
 of the lien upon which its credit bid is premised. Except where the Debtor has stipulated to the
 amount of a Senior Secured Claim (as defined below) in a “cash collateral” order entered by the
 Court, any party submitting a credit bid agrees to provide the Debtor with documentation to
 evidence the amount, nature, extent, validity and perfection of such claim and lien to the extent it
 has not already done so..

         PNC (or its successor-in-interest) is entitled to credit bid the full amount of all secured
 obligations and any existing secured liabilities then outstanding to PNC as and to the extent set
 forth in the Order authorizing the Debtor to use cash collateral that was approved by this Court
 (the “Cash Collateral Order”).

         Any party submitting a credit bid must include in their bid either (i) provisions for the
 satisfaction or assumption of any secured claims that are senior to the secured claim that forms
 the basis of the credit bid (a “Senior Secured Claim”) or (ii) evidence that the holder of any
 Senior Secured Claim has affirmatively consented to any other treatment of its Senior Secured
 Claim.

         Parties entitled to credit bid shall not be required to comply with Paragraphs 6(o) or
 11(m) of the Bidding Procedures regarding providing a Deposit in connection with their bids
 solely with respect to the amount of the Senior Secured Claim included as consideration for their
 bid.

          8.     Bid Deadline




                                                  7
 8417033 v1
   Case 21-11750-mdc        Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                 Desc
                                   Exhibit A Page 26 of 42
Case 21-11750-mdc        Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12                Desc Main
                                Document    Page 25 of 41



          A Qualifying Bidder that desires to make a bid shall deliver a written and electronic copy
 of its bid in both PDF and MS-WORD format to the Debtor, with a copy to the Consultation
 Parties, so as to be received on or before August 20, 2021 at 5:00 p.m. (ET) (the “Bid
 Deadline”); provided that the Debtor may extend the Bid Deadline without further order of the
 Court, after consulting with the applicable Consultation Parties. All parties wishing to submit a
 Qualifying Bid shall submit the bid materials required by Section 6 (including the executed
 Transaction Agreement and a certified check or wire transfer for the Deposit amount, if any) to
 the Investment Banker at the contact information provided above with a copy to counsel to the
 Debtor: (i) Flaster/Greenberg P.C., 1835 Market Street, Suite 1050, Philadelphia, PA 19103;
 Attn: William J. Burnett., Esquire (William.Burnett@flastergreenberg.com); (ii) the Office of the
 United States Trustee; (iii) counsel to the Official Committee of Unsecured Creditors Committee
 (if any); and (iv) counsel to PNC Bank, N.A. Dilworth Paxson LLP
 1500 Market Street, Suite 3500E, Philadelphia, PA 19102; Attn: Jennifer L. Maleski, Esquire
 (jmaleski@dilworthlaw.com).

        Any party that does not submit a bid by the Bid Deadline will not be allowed to (a)
 submit any offer after the Bid Deadline, or (b) participate in the Auction. Consistent with
 the terms of any confidentiality agreements executed by them, all Potential Bidders and
 Qualifying Bidders shall maintain as confidential, up until the Auction, the fact that they
 have submitted a bid and the terms and conditions of such bid.

          9.    Evaluation of Qualifying Bids

         The Debtor, in consultation with the Consultation Parties, shall make a determination
 regarding whether a timely submitted bid from a Qualifying Bidder is a Qualifying Bid, and shall
 notify all Qualifying Bidders whether their bids have been determined to be a Qualifying Bid by
 no later than prior to the Auction Date (as defined below). In the event that a bid is determined
 not to be a Qualifying Bid, the Qualifying Bidder shall be notified by the Debtor and shall have
 until the beginning of the Auction to modify its bid so as to become a Qualifying Bid; provided
 that any Qualifying Bid may be improved at the Auction as set forth herein.

        Prior to the commencement of the Auction (if any), the Debtor shall determine, in
 consultation with the Consultation Parties, which of the Qualifying Bids, at such time, is the
 highest and best bid for purposes of constituting the opening bid of the Auction (the “Baseline
 Bid” and the Qualifying Bidder submitting the Baseline Bid, the “Baseline Bidder”), and shall
 promptly notify all Qualifying Bidders with Qualifying Bids of the Baseline Bid.

         The APA from the Buyer is a Qualifying Bid and is the Baseline Bid for the Assets as of
 the date of this Order.

          10.   One Qualifying Bid

        If no other Qualifying Bid (other than the Buyer’s APA) is submitted on or before the Bid
 Deadline, the Debtor shall not hold an Auction and shall have the right to request at the Sale
 Hearing (as defined in the Bidding Procedures Order) that the Court approve the APA with the
 Buyer and the transactions contemplated thereunder.


                                                 8
 8417033 v1
   Case 21-11750-mdc          Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                  Desc
                                     Exhibit A Page 27 of 42
Case 21-11750-mdc          Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12               Desc Main
                                  Document    Page 26 of 41




          11.    Auction

         In the event that the Debtor timely receives more than one Qualifying Bid, the Debtor
 shall conduct an auction (the “Auction”). Following the Auction, the Debtor will determine, in
 consultation with the Consultation Parties, which Qualifying Bid is the highest and best bid for
 the Assets, which will be determined by considering, among other things, the following non-
 binding and non-exclusive factors: (a) the transaction structure and execution risk, including
 conditions as to, timing of and certainty of closing, termination provisions, availability of
 financing and financial wherewithal to meet all commitments, and required governmental or
 other approval; (b) variations between competing bids and any incremental execution risk that
 the Debtor reasonably determines, in consultation with the Consultation Parties, exists as a result
 of such variations; (c) the time needed to close a Sale or other transaction compared with other
 Qualifying Bids and the cost to the Debtor and its estate of any incremental delay; (d) the total
 consideration, including non-cash consideration to be received by the Debtor and its estate; (e)
 the ability to obtain a higher or better offer for the Assets; (f) existing funding available or
 proposed to be provided by the Qualifying Bidder during the period necessary to close the Sale
 or other transaction; (g) the net benefit to the Debtor’s estate, taking into account the Buyer’s
 rights to the expense reimbursement, or similar bid protection; (h) the proposed treatment of
 existing secured interests in the subject Assets, including any senior indebtedness in the case of a
 credit bid; (i) the impact on employees, Counterparties (including claims that may be asserted
 related to rejection and objections to adequate assurance), and other creditors; and (j) any other
 factors the Debtor may reasonably deem relevant.

          The Auction shall be governed by the following procedures:

                  (a)    the Auction shall be tentatively held (subject to appropriate COVID safety
          protocols and applicable guidance, including, if necessary or appropriate, by Zoom or
          other teleconference) at the office of counsel to the Debtor, Flaster/Greenberg PC, 1835
          Market Street, Suite 1050, Philadelphia, PA 19103 beginning at 10:00 a.m. (prevailing
          Eastern Time) on August 23, 2021 at 10:00 am (ET);

                 (b)     only Qualifying Bidders with Qualifying Bids (including the Buyer
          together, the “Auction Bidders”) shall be entitled to make any subsequent bids at the
          Auction;

                 (c)     the Auction Bidders shall appear in person at the Auction (subject to 11(a)
          above), or through a duly authorized representative. In the event that a Qualifying Bidder
          becomes a Successful Bidder or Back-up Bidder, then whomever is attending the Auction
          on behalf of a Qualifying Bidder must have the authority, immediately after the
          conclusion of the Auction, to complete and execute all agreements, contracts, instruments
          and other documents evidencing and containing the terms and conditions upon which a
          Successful Bid or Back-up Bid was made;

                 (d)     only the Debtor, the Auction Bidders, and the Consultation Parties,
          together with the professional advisors to each of the foregoing parties, may attend the


                                                   9
 8417033 v1
   Case 21-11750-mdc          Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                   Desc
                                     Exhibit A Page 28 of 42
Case 21-11750-mdc          Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12                  Desc Main
                                  Document    Page 27 of 41



          Auction. Parties who intend to attend the Auction must provide counsel for the Debtor at
          least one (1) business day’s written notice of their intent to attend the Auction so that the
          Debtor can make appropriate arrangements;

                 (e)    the Debtor and their professional advisors shall direct and preside over the
          Auction, which shall be transcribed;

                  (f)    the Auction Bidders shall confirm that they have not engaged in any
          collusion with respect to the Bidding Procedures, the Auction, or the Sale;

                 (g)    bidding on any lot of Assets shall commence at the amount of the Baseline
          Bid, and the Auction Bidders may submit successive bids in increments of at least
          $50,000, provided that each such successive bid must otherwise be a Qualifying Bid;

                 (h)      the Auction may include individual negotiations with any of the Auction
          Bidders, but all bids shall be made on the record and in the presence of all of the Auction
          Bidders;

                  (i)    all material terms of the bid that is deemed to be the highest and best bid
          for each round of bidding shall be fully disclosed to the Auction Bidders, and the Debtor
          shall use reasonable efforts to clarify any and all questions that the Auction Bidders may
          have regarding the Debtor’s announcement of the then-current highest and best bid;

                  (j)      the Debtor and its professional advisors, in consultation with the
          Consultation Parties, may employ and announce at the Auction additional procedural
          rules that are reasonable under the circumstances (e.g., the amount of time allotted to
          make subsequent bids) for conducting the Auction, provided that such rules are (i) not
          inconsistent with the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, the
          Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court
          for the Eastern District of Pennsylvania, or any applicable order of the Court entered in
          connection with this Chapter 11 Case, including, without limitation, the Bidding
          Procedures Order, and (ii) disclosed to the Auction Bidders;

                   (k)    the Auction Bidders shall have the right to make additional modifications
          to their Transaction Agreement in conjunction with each Qualifying Bid submitted in
          each round of bidding during the Auction, provided that (i) any such modifications on an
          aggregate basis and viewed in whole, shall not, in the Debtor’s discretion, in consultation
          with the Consultation Parties, be less favorable to the Debtor and its estate than the terms
          of any Qualifying Bid that was announced as the then-current highest and best bid for the
          Assets that are the subject of the bids, and (ii) each Qualifying Bid (unless superseded by
          a subsequent Qualifying Bid at the Auction) shall constitute an irrevocable offer and shall
          be binding on the Auction Bidder submitting such bid until the conclusion of the Sale
          Hearing, unless such bid is selected as a Successful Bid or Back-Up Bid, which shall
          remain binding as provided for herein;




                                                   10
 8417033 v1
   Case 21-11750-mdc         Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                Desc
                                    Exhibit A Page 29 of 42
Case 21-11750-mdc         Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12               Desc Main
                                 Document    Page 28 of 41



                 (l)      the Debtor shall have the right to request any additional financial
          information that will allow the Debtor to make a reasonable determination, in
          consultation with the Consultation Parties, as to an Auction Bidder’s financial and other
          capabilities to consummate the transactions contemplated by the Transaction Agreement,
          as may be amended during the Auction, and any further information that the Debtor may
          believe is reasonably necessary to clarify and evaluate any bid made by an Auction
          Bidder during the Auction;

                  (m)     upon the conclusion of the Auction, the Debtor shall determine, in
          consultation with the Consultation Parties, subject to Court approval, the offer or offers
          for the Assets that is or are the highest and best from among the Qualifying Bids
          submitted at the Auction (each a “Successful Bid”). The bidder submitting a Successful
          Bid shall be the “Successful Bidder” for such Assets and shall have such rights and
          responsibilities of the purchaser as set forth in the Transaction Agreement. The Debtor
          shall designate a “Back-Up Bid (or Bids)” (and the corresponding “Back-Up Bidder (or
          Bidders)”) in the event that a Successful Bidder does not close a Sale or the Court does
          not approve the Successful Bid. Subject to Section 7 of the Bidding Procedures, within
          one business day after the conclusion of the Auction, the Successful Bidder(s) and any
          Back-Up Bidder(s) shall deliver an additional Deposit payment so that each such bidder’s
          total Deposit amount is equal to ten percent (10%) of the cash amount of the Successful
          Bid or Back-Up Bid, as applicable; and

                 (n)      immediately after the conclusion of the Auction and without undue delay,
          each Successful Bidder and Back-Up Bidder shall complete and execute all agreements,
          contracts, instruments and other documents evidencing and containing the terms and
          conditions upon which the Successful Bid or Back-Up Bid was made.

                EACH SUCCESSFUL BID AND ANY BACK-UP BID (INCLUDING THE
          APA) SHALL CONSTITUTE AN IRREVOCABLE OFFER AND BE BINDING
          ON THE APPLICABLE SUCCESSFUL BIDDER AND BACK-UP BIDDER,
          RESPECTIVELY, FROM THE TIME THE BID IS SUBMITTED UNTIL THE
          TIME PERIOD SPECIFIED IN THESE BIDDING PROCEDURES. EACH
          QUALIFYING BID THAT IS NOT A SUCCESSFUL BID OR BACK-UP BID
          SHALL BE IRREVOCABLE UNTIL THE CONCLUSION OF THE SALE
          HEARING, AT WHICH POINT THEY SHALL BE DEEMED WITHDRAWN
          AND TERMINATED.

          12.    Sale Hearing

         The Successful Bid (which, if no Auction is held, may be the APA) and any Back-Up Bid
 will be subject to approval by the Court. The Sale Hearing to approve the Successful Bid(s) and
 any Back-Up Bid(s) shall take place August 27, 2021 at 10:30 a.m. (via Zoom). In consultation
 with the Consultation Parties, the Sale Hearing may be adjourned by the Debtor from time to
 time without further notice to creditors or other parties in interest other than by announcement of
 the adjournment in open court on the date scheduled for the Sale Hearing or by filing a notice on
 the docket of the Debtor’s chapter 11 case.


                                                  11
 8417033 v1
   Case 21-11750-mdc         Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                  Desc
                                    Exhibit A Page 30 of 42
Case 21-11750-mdc         Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12                  Desc Main
                                 Document    Page 29 of 41




          13.   Backup Bidder

         Notwithstanding any of the foregoing, in the event that a Successful Bidder fails to close
 the applicable Sale promptly upon the Sale Order becoming a final order (or such later date as
 may be extended by the Debtor in consultation with the Consultation Parties), (i) the Back-Up
 Bid for that Sale will be deemed to be the Successful Bid, (ii) the Back-Up Bidder will be
 deemed to be the Successful Bidder, and (iii) the Debtor will be authorized, but not directed, to
 schedule an additional Sale Hearing to approve a Sale to the Back-Up Bidder upon two days’
 notice to any party that was entitled to receive notice of the original Sale Hearing. Nothing
 herein shall prevent the Success Bidder from closing prior to the Sale Order becoming a final
 order, so long as the effectiveness of the Sale Order is not stayed by operation of Bankruptcy
 Rule 6004(h)

          14.   Return of Deposits

         All Deposits shall be returned to each bidder not selected by the Debtor as a Successful
 Bidder or Back-Up Bidder for any Sale no later than three (3) business days following the
 conclusion of the Sale Hearing. The deposit of a Back-Up Bidder shall be returned within three
 (3) business days of the closing of the applicable Sale to the Successful Bidder; the deposit of the
 Successful Bidder or, if the Sale is closed with the Back-Up Bidder, the deposit of the Back-Up
 Bidder, shall be applied to the purchase price for the Sale. If the Successful Bidder (or, if the
 Sale is to be closed with the Back-Up Bidder, then the Back-Up Bidder) fails to consummate the
 Sale because of a breach or failure to perform on the part of such bidder, then the Debtor and its
 estate shall be entitled to retain the Deposit of the Successful Bidder (or, if the Sale is to be
 closed with the Back-Up Bidder, then the Back-Up Bidder) as liquidated damages resulting to
 the Debtor and its estate for such breach or failure to perform.

          15.   Consultation Parties

         The term “Consultation Parties” as used in these Bidding Procedures shall mean, with
 respect to any Assets, unless such party is a potential bidder for such Assets: (i) counsel to the
 Official Committee of Unsecured Creditors (if any); and (ii) counsel to PNC Bank, N.A..

        For the avoidance of doubt, any consultation rights provided to the Consultation Parties
 by these Bidding Procedures shall not limit the Debtor’s discretion in any way and shall not
 include the right to veto any decision made by the Debtor in the exercise of their business
 judgment.

          In the event that any Consultation Party, any member of an official committee or an
 affiliate of any of the foregoing participates as a potential purchaser in the sales process, any
 obligation of the Debtor to consult with the bidding party established under these Bidding
 Procedures will be waived, discharged and released without further action, until such party
 advises the Debtor that they are irrevocably withdrawing as a potential purchaser in the sale
 process at which time such party’s consultation rights will be reinstated; provided that the
 bidding party will have the same rights as any other Qualifying Bidder set forth above.


                                                  12
 8417033 v1
   Case 21-11750-mdc           Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24               Desc
                                      Exhibit A Page 31 of 42
Case 21-11750-mdc            Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12             Desc Main
                                    Document    Page 30 of 41




        If a member of an official committee submits a Qualifying Bid, such committee will
 continue to have consultation rights as set forth in these Bidding Procedures; provided that the
 committee shall exclude such member from any discussions or deliberations regarding the sale of
 the Assets in question and shall not provide any confidential information regarding the sale of
 the Assets to such member.

          16.   Reservation of Rights

         Notwithstanding any of the foregoing, and subject to the terms and conditions of the
 APA, the Debtor and its estate reserve the right to, after consultation with the Consultation
 Parties, modify these Bidding Procedures at or prior to the Auction, including, without
 limitation, to extend the deadlines set forth herein, to allow for bidding on only a portion of the
 Assets and not all of them, modify bidding increments, to waive terms and conditions set forth
 herein with respect to any or all potential bidders (including, without limitation, the Bid
 Requirements), to impose additional terms and conditions with respect to any or all Potential
 Bidders, to adjourn or cancel the Auction at or prior to the Auction, and to adjourn or cancel the
 Sale Hearing.

        Additionally, the Debtor, in consultation with the Consultation Parties, have the right to
 terminate the sale and auction process with respect to any or all of the Assets at any time.

          17.   Buyer’s Brokers/Indemnity

         Each Potential Bidder or Qualifying Bidder warrants and represents that it is a principal
 acting on its own behalf, and not as a broker, finder, or agent acting on another’s behalf. Each
 Potential Bidder or Qualifying Bidder understands that the Debtor and Investment Banker and
 their respective representatives have not agreed to pay any brokerage commissions, finder’s fee
 or other compensation in connection with a Potential Bidder’s or Qualifying Bidder’s possible
 purchase. In addition, each Potential Bidder or Qualifying Bidder hereby agrees to indemnify,
 defend and hold the Debtor, Investment Banker, and their respective representatives harmless
 from and against any and all claims, damages, losses and liabilities, costs and expenses
 (including reasonable attorneys’ fees and disbursements) arising out of any such claims made by
 third-party brokers on account of or related to such Potential Bidder or Qualifying Bidder.

          18.   Disclaimer

         By submitting a bid, each Potential Bidder and Qualifying Bidder including the Buyer
 agrees to and acknowledges the following terms and conditions with respect to any information
 received from the Debtor related to the Assets (“Information”):

                (a)     The Assets are being offered AS-IS, WHERE-IS, with ALL FAULTS.

                (b)     The Information has been prepared:

                        i.       for informational purposes only;


                                                  13
 8417033 v1
   Case 21-11750-mdc          Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                  Desc
                                     Exhibit A Page 32 of 42
Case 21-11750-mdc         Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12                  Desc Main
                                 Document    Page 31 of 41




                         ii.    from materials supplied by the Debtor, local municipalities, and
                 other sources commonly accepted as reliable sources for such type of
                 Information; and

                         iii.    to assist Potential Bidders and Qualifying Bidders in making their
                 own evaluation of the offering and does not purport to be all-inclusive or to
                 contain all of the information that interested parties may desire. The Debtor,
                 Investment Banker and their respective officers, directors, employees, affiliates,
                 agents, advisors and representatives (such parties, collectively, “Representatives”)
                 have not assumed responsibility for independent verification of any of the
                 information contained herein and have not in fact in any way audited such
                 Information. In all cases, Potential Bidders and Qualifying Bidders should
                 conduct their own investigation and analysis of the offering, conduct site
                 inspections, and scrutinize the Information. Potential Bidders and Qualifying
                 Bidders should engage legal counsel, accountants, engineers, and/or such other
                 professional advisors as Potential Bidders and Qualifying Bidders deem
                 appropriate for evaluating the Assets.

                 (c)     None of Potential Bidders, Qualifying Bidders or their respective
          Representatives are entitled to rely on the accuracy or completeness of the Information
          except as provided for in a Transaction Agreement that is authorized and approved by the
          Court.

                 (d)     Although the Debtor and Investment Banker have endeavored for the
          Information to contain data which they believe to be relevant for the purpose of any
          Potential Bidder’s or Qualifying Bidder’s investigation, except as expressly set forth in a
          Transaction Agreement accepted by the Debtor and approved by the Court, none of the
          Debtor, Investment Banker or any of their respective Representatives:

                         i.     have made or make and expressly disclaim making any written or
                 oral statements, representations, warranties, promises or guarantees, whether
                 express or implied or by operation of law or otherwise, with respect to the Assets
                 or with respect to the accuracy, reliability or completeness of the Information;

                          ii.     to the fullest extent permitted by law, shall have any liability
                 whatsoever to Potential Bidders, Qualifying Bidders or their Representatives on
                 any basis (including, without limitation, in contract, tort, under federal, foreign or
                 state securities laws or otherwise) as a result of, relating or pertaining to, or
                 resulting or arising from (i) any Potential Bidder’s, any Qualifying Bidder’s, or
                 any of their Representative’s reliance on the Information, (ii) Potential Bidder’s,
                 Qualifying Bidder’s, or their Representatives’ use or non-use of the Information,
                 or (iii) any alleged acts or omissions of Debtor, Investment Banker or any of their
                 respective Representatives, or any errors or omissions in the Information;




                                                   14
 8417033 v1
   Case 21-11750-mdc          Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                 Desc
                                     Exhibit A Page 33 of 42
Case 21-11750-mdc         Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12                 Desc Main
                                 Document    Page 32 of 41



                        iii.    shall have any liability or responsibility for any decisions made by
                 any Potential Bidder, Qualifying Bidder or any of their Representatives in reliance
                 on any Information;

                         iv.    will be under any obligation or duty (express or implied) to make
                 available any Information to any Potential Bidders, any Qualifying Bidders, or
                 any of their Representatives; and

                        v.      will be under any duty or obligation (express or implied) to update,
                 supplement, revise or correct any Information disclosed under these Bidding
                 Procedures, regardless of the circumstances.

                   (e)     No contract or agreement providing for any transaction shall be deemed to
          exist between a Potential Bidder or Qualifying Bidder and the Debtor unless and until a
          Qualifying Bidder and the Debtor execute and deliver a Transaction Agreement that is
          authorized and approved by the Court, and Potential Bidders and Qualifying Bidders
          hereby waive, in advance, any claims (including, without limitation, breach of contract)
          in connection with any transaction unless and until a Potential Bidder or Qualifying
          Bidder and the Debtor shall have executed and delivered a Transaction Agreement, which
          has been authorized and approved by the Court. The Debtor reserves the right, in its
          discretion, to reject any and all proposals made by any Potential Bidder or Qualifying
          Bidder with regard to a transaction, and to terminate discussions and negotiations with a
          Potential Bidder or Qualifying Bidder at any time. Subject to the terms of these Bidding
          Procedures and the APA, the Debtor shall be free to establish and change any process or
          procedure with respect to a transaction as the Debtor in its sole discretion shall determine
          (including, without limitation, negotiating with any other interested party and entering
          into a final definitive agreement relating to a transaction with any other party without
          prior notice to any Potential Bidder, Qualifying Bidder or any other person).

                 (f)     Each of the Debtor, the Investment Banker and the Debtor’s other
          advisors, individually and collectively, have not made any representations or warranties
          except as expressly set forth in any Transaction Agreement executed by the Debtor,
          which has been authorized and approved by the Court. Potential Bidders and Qualifying
          Bidders may rely only on the representations and warranties expressly set forth in a
          Transaction Agreement executed by the applicable Debtor, which has been authorized
          and approved by the Court.




                                                  15
 8417033 v1
  Case 21-11750-mdc    Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24   Desc
                              Exhibit A Page 34 of 42
Case 21-11750-mdc     Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12   Desc Main
                             Document    Page 33 of 41



                                      Exhibit 2

                                     Sale Notice




                                         16
 8417033 v1
   Case 21-11750-mdc        Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24               Desc
                                   Exhibit A Page 35 of 42
Case 21-11750-mdc        Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12               Desc Main
                                Document    Page 34 of 41



                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:                                     CHAPTER 11

 MIDNIGHT MADNESS DISTILLING                CASE NO. 21-11750(MDC)
 LLC


                                NOTICE OF SALE OF ASSETS

         Midnight Madness Distillery, LLC, as Debtor and Debtor in possession (collectively, the
 “Debtor”), is seeking to sell its real and personal property and other related interests (the
 “Assets”). The Debtor will consider proposals to acquire some or all of the Assets through a sale
 under section 363 of the Bankruptcy Code. The Debtor has entered into that certain Asset
 Purchase Agreement by and between the Debtor and ETOH Worldwide, LLC (the “Buyer”) dated as
 of June 21, 2021 (the “APA”) for the purchase of the Assets.

         By order, dated         [Docket No. ] (the “Bidding Procedures Order”), the
 Bankruptcy Court approved certain “Bidding Procedures” that govern the sale(s) of, or other
 transaction(s) to acquire, the Assets by the highest and best bidder. Capitalized terms used but
 not otherwise defined herein shall have the meanings ascribed to them in the Bidding Procedures
 Order.

          The Debtor has requested that the Bankruptcy Court enter an order (the “Sale Order”),
 providing, among other things, for the sale of the Assets free and clear of all liens, claims,
 encumbrances and other interests, to the extent permissible by law, and the assumption of certain
 liabilities. A separate notice will be provided to counterparties to executory contracts and
 unexpired leases with the Debtor that may be assumed and assigned in connection with the Sale
 Orders.

        Copies of the Bidding Procedures Order, the Bidding Procedures, and other pleadings are
 available at the website for the Bankruptcy Court or by email counsel to the Debtor as noted
 below.

         ANY PARTY INTERESTED IN BIDDING ON THE ASSETS SHOULD
 CONTACT: Wm. F. Comly & Son, Inc. 1825 E. Boston Street Philadelphia, PA 19125-1296
 215-634-2500; auctions@comly.com ATTN: Jim Comly jcomly@comly.com (610)656-2190
 (the “Investment Banker”)

 PLEASE TAKE NOTE OF THE FOLLOWING INFORMATION AND IMPORTANT
 DEADLINES:

      The deadline to file an objection with the Bankruptcy Court to the proposed sale of the
       Assets (the “Sale Objection Deadline”) is August 25, 2021 at 4:00 p.m. (ET); provided


 8417033 v1
   Case 21-11750-mdc          Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                 Desc
                                     Exhibit A Page 36 of 42
Case 21-11750-mdc          Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12                 Desc Main
                                  Document    Page 35 of 41



          that, solely with respect to an objection to the conduct of the Auction, the designation of
          any Successful Bidder or Bid or Back-Up Bidder or Bid, the terms (including price) of
          such bids, or the Debtor’s inability to satisfy the conditions of section 363(f) of the
          Bankruptcy Code with respect to a Successful Bid or Back-Up Bid (an “Auction
          Objection”), the deadline to file an Auction Objection shall be prior to the
          commencement of the Sale Hearing.

      Objections must be filed and served in accordance with the Bidding Procedures Order. In
       connection with the proposed sale process, interested bidders may be subject to an
       expedited discovery process.

      The deadline to be qualified as a Qualifying Bidder and to submit a Qualifying Bid is
       August 20, 2021 at 5:00 p.m. (ET). Subject to Section 7 of the Bidding Procedures with
       respect to credit bids, all Qualifying Bids must be accompanied with a deposit in an
       amount equal to five percent (5%) of the total consideration provided under the proposed
       Transaction Agreement.

      If a Qualifying Bid is timely submitted other than the APA, an Auction shall tentatively
       be held (subject to appropriate COVID safety protocols and applicable guidance,
       including, if necessary or appropriate, by Zoom or other teleconference) at the office of
       counsel to the Debtor, Flaster/Greenberg PC, 1835 Market Street, Suite 1050,
       Philadelphia, PA 19103 beginning at 10:00 a.m. (prevailing Eastern Time) on August 23,
       2021 at 10:00 am (ET).

      The Bankruptcy Court will conduct a hearing (the “Sale Hearing”) to consider the
       proposed Sales on: August 27 2021 at 10:30 a.m. (via Zoom) at 10:30 a.m. (ET).




                                                   2
 8417033 v1
  Case 21-11750-mdc       Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24      Desc
                                 Exhibit A Page 37 of 42
Case 21-11750-mdc       Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12       Desc Main
                               Document    Page 36 of 41




      THE FAILURE OF ANY PERSON OR ENTITY TO FILE AND SERVE AN
 OBJECTION BY THE APPLICABLE OBJECTION DEADLINE SHALL BE DEEMED
 CONSENT TO, AND A BAR TO THE ASSERTION BY SUCH PERSON OR ENTITY
 OF ANY OBJECTION TO, THE MOTION, SALE ORDERS, THE PROPOSED
 TRANSACTIONS, OR THE DEBTOR’S CONSUMMATION AND PERFORMANCE OF
 THE TRANSACTION AGREEMENT(S) (INCLUDING, WITHOUT LIMITATION, THE
 DEBTOR’S TRANSFER OF ANY OF THE ASSETS AND ASSUMPTION AND
 ASSIGNMENT OF ANY ASSUMED CONTRACTS, FREE AND CLEAR OF ALL
 LIENS, CLAIMS, ENCUMBRANCES AND OTHER INTERESTS).



 Dated: July __, 2021             FLASTER/GREENBERG P.C.

                                        /s/ William J. Burnett
                                        William J. Burnett (Bar No. 75975)
                                        Harry J. Giacometti (Bar No. 55861)
                                        1835 Market Street, Suite 1050
                                        Philadelphia, PA 19103
                                        (215) 279-9383 Telephone
                                        (215) 279-9394 Facsimile
                                        william.burnett@flastergreenberg.com

                                        COUNSEL FOR THE
                                        DEBTOR-IN-POSSESSION




                                           3
 8417033 v1
  Case 21-11750-mdc    Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24   Desc
                              Exhibit A Page 38 of 42
Case 21-11750-mdc     Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12   Desc Main
                             Document    Page 37 of 41




                                     Exhibit 3

                                 Assumption Notice




                                         4
 8417033 v1
   Case 21-11750-mdc        Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                  Desc
                                   Exhibit A Page 39 of 42
Case 21-11750-mdc        Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12                 Desc Main
                                Document    Page 38 of 41




                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:                                      CHAPTER 11

 MIDNIGHT MADNESS DISTILLING                 CASE NO. 21-11750(MDC)
 LLC


  NOTICE OF ASSUMPTION, ASSIGNMENT AND CURE AMOUNT WITH RESPECT
   TO EXECUTORY CONTRACTS AND UNEXPIRED LEASES OF THE DEBTOR

         Midnight Madness Distillery, LLC, as Debtor and Debtor in possession (collectively, the
 “Debtor”), is seeking to sell its personal property and other related interests (the “Assets”). The
 Debtor will consider proposals to acquire some or all of the Assets through a sale under section
 363 of the Bankruptcy Code. The Debtor has entered into that certain Asset Purchase Agreement
 by and between the Debtor and ETOH Worldwide, LLC (the “Buyer”) dated as of June 21, 2021
 (the “APA”) for the purchase of the Assets.

         By order, dated         [Docket No. ](the “Bidding Procedures Order”), the
 Bankruptcy Court approved certain “Bidding Procedures” that govern the sale(s) of, or other
 transaction(s) to acquire, the Assets by the highest and best bidder. Capitalized terms used but
 not otherwise defined herein shall have the meanings ascribed to them in the Bidding Procedures
 Order.

        The Debtor has requested that the Bankruptcy Court enter an order (the “Sale Order”),
 which provides, among other things, for the sale of the Assets free and clear of all liens, claims,
 encumbrances and other interests, to the extent permissible by law, and the assumption by the
 applicable purchaser of certain liabilities. In connection with this marketing and sale process, the
 Debtor is seeking to assume or assume and assign certain of its executory contracts and
 unexpired leases related to the Assets (collectively, the “Assumed Contracts”).

        Copies of the Bidding Procedures Order, the Bidding Procedures, and other pleadings are
 available at the website for the Bankruptcy Court or by email counsel to the Debtor as noted
 below.

         You are receiving this Notice because you may be a party to an Assumed Contract.
 A list of the Assumed Contracts is attached hereto as Exhibit A. The Debtor has determined
 the current amounts owing (the “Cure Amounts”) under each Assumed Contract and have listed
 the applicable Cure Amounts on Exhibit A. The Cure Amounts are the only amounts proposed to
 be paid upon any assumption or assumption and assignment of the Assumed Contracts, in full
 satisfaction of all amounts outstanding under the Assumed Contracts.




 8417033 v1
   Case 21-11750-mdc        Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24                Desc
                                   Exhibit A Page 40 of 42
Case 21-11750-mdc        Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12               Desc Main
                                Document    Page 39 of 41



        To the extent that a non-Debtor party to an Assumed Contract objects to (i) the
 assumption and assignment of such party’s Assumed Contract or (ii) the applicable Cure
 Amounts, the non-Debtor counterparty must file and serve an objection in accordance with
 the Bidding Procedures Order, so as to be received by the undersigned counsel for the
 Debtor and the other parties specified in the Bid Procedures Order by August 25, 2021, at
 4:00 p.m. (ET).

         If a Qualifying Bid is timely submitted other than the APA, an Auction shall tentatively
 be held (subject to appropriate COVID safety protocols and applicable guidance, including, if
 necessary or appropriate, by Zoom or other teleconference) at the office of counsel to the Debtor,
 Flaster/Greenberg PC, 1835 Market Street, Suite 1050, Philadelphia, PA 19103 beginning at
 10:00 a.m. (prevailing Eastern Time) on August 23, 2021 at 10:00 am (ET). After the Auction
 occurs, and if a buyer other than the Buyer is the Successful Bidder, the Debtor will file and
 serve a notice that identifies the proposed new acquirers of the Assets, and the proposed
 assignees of any Assumed Contracts. The deadline to object to adequate assurance of future
 performance with respect to such proposed assignees, shall be prior to the commencement of the
 Sale Hearing.

         If no objection is timely received with respect to Cure Amounts or the assumption of an
 Assumed Contract, (i) a non-Debtor party to a Contract shall be forever barred from objecting to
 the Cure Amounts and from asserting any additional cure or other amounts with respect to such
 Contract, (ii) the Cure Amounts set forth on Exhibit A attached hereto shall be controlling,
 notwithstanding anything to the contrary in any Assumed Contract, or any other document, and
 the non-Debtor party to an Assumed Contract shall be deemed to have consented to the Cure
 Amounts, (iii) the non-Debtor party to a Contract shall be forever barred and estopped from
 asserting any other claims related to such Contract against the Debtor or the applicable
 transferee, or the property of any of them; and (iv) the Counterparty shall be deemed to consent
 to, and the Debtor shall be permitted to proceed with, the assumption and assignment of the
 applicable Assigned Contract.

         The Debtor will seek to assume and assign the Assumed Contracts that have been
 selected by a Successful Bidder or the Buyer, as applicable, at a hearing before the Bankruptcy
 Court (a “Sale Hearing”) on August 27 2021 at 10:30 a.m. (via Zoom) at _:00 a.m. (ET), or
 such other date as determined by the Debtor in accordance with the terms of the Bidding
 Procedures Order. A hearing regarding the Cure Amounts, if any, may be adjourned by
 agreement of the Debtor and applicable objection party or by order of the Court.


 Dated: July __, 2021                 FLASTER/GREENBERG P.C.

                                              /s/ William J. Burnett




                                                 6
 8417033 v1
  Case 21-11750-mdc    Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24       Desc
                              Exhibit A Page 41 of 42
Case 21-11750-mdc     Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12       Desc Main
                             Document    Page 40 of 41



                                      William J. Burnett (Bar No. 75975)
                                      Harry J. Giacometti (Bar No. 55861)
                                      1835 Market Street, Suite 1050
                                      Philadelphia, PA 19103
                                      (215) 279-9383 Telephone
                                      (215) 279-9394 Facsimile
                                      william.burnett@flastergreenberg.com
                                       COUNSEL FOR THE
                                      DEBTOR-IN-POSSESSION




                                         7
 8417033 v1
  Case 21-11750-mdc    Doc 187-1 Filed 10/07/21 Entered 10/07/21 15:33:24   Desc
                              Exhibit A Page 42 of 42
Case 21-11750-mdc     Doc 110 Filed 08/12/21 Entered 08/12/21 11:33:12   Desc Main
                             Document    Page 41 of 41



                                     Exhibit A


                                 Assumed Contracts




                                         8
 8417033 v1
